 

Case 3:04-cr-00373-AET Document 143 Filed 06/01/05 Page 1 of 2 Page|D: 2457

UNITED STATES DISTRICT COURT
DISTRICT GF NEW JERSEY

UNITED STATES OF AMERICA : Criminal NO. 04-373 (MLC)
'V'.

STOP HUNTINGDON ANIMAL

CRUELTY USAr INC.,

KEVIN KJONAAS, a/k/a

“Kevin Jonas,” a/k/a “Steve

Shore,” a/k/a “Jim Fareer,”

LAUREN GAZZOLA,

a/k/a “Angela Jackson,” a/k/a

“Danielle Matthews,"

JACOB CCNROY, : ORDER FOR DISMISSAL

JOSHUA HARPER, OF JOHN MCGEE

ANDREW STEPANIAN, '

DARIUS FULLMER, and
JOHN MCGEE

Pnrsuant to Rnle ea(a) of the Federal Rulea of Criminal
Procednre and by leave of the Court endorsed hereon, Christopher
J. Christie, the United States Attorney for the District of New
Jersey, dismisses against John McEee only, Superseding
Indictmentr Crim. No. 04-373(MLC), filed on February lB, 2005,
charging John McGee, Stop Huntingdon Animal Cruelty UEA, Inc.;
Kevin Kjonaas; Lauren Gazzola; Jacob Conroy; Joshua Harper;
Andrew Stepanian; and Darius Fullmer with conspiracy to use
facilities in interstate commerce for the purpose of causing the-
diaruption to the business of an animal enterprise and thereby

cause more than $lG,ODO in damage, in violation of Title lS,

 

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United States Code, SeCtion 43, for the reason that prosecution
is not in the best interest of the United States at this time.

This dismissal is without prejudice.

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CH§.ISTOPHER J. CHRISTIE
United States Attorney

 

Leave of Court is granted for the filing of the

foregoing dismissal.

    

ates District Judge

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